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                        Exhibit B
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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

DENIS MARC AUDET, MICHAEL                          Case 3:16-cv-00940
PFEIFFER, DEAN ALLEN SHINNERS,
and JASON VARGAS, Individually and                 ECF Case
on Behalf of All Others Similarly
Situated,                                          CLASS ACTION

                               Plaintiffs,
                                                   PLAINTIFFS’ OBJECTIONS AND
        vs.                                        RESPONSES TO DEFENDANT
                                                   STUART A. FRASER’S FIRST SET
STUART A. FRASER, GAW MINERS,                      OF REQUESTS FOR PRODUCTION
LLC, and ZENMINER, LLC, (d/b/a ZEN
CLOUD),                                            DEMAND FOR JURY TRIAL

                               Defendants.


To:     Defendant Stuart A. Fraser by and through his counsel of record Daniel H.
        Weiner, Sarah L. Cave, and Sara E. Echenique, Hughes Hubbard & Reed
        LLP, One Battery Park Plaza, New York, NY 10004-1482 and David R.
        Schaefer and Sean M. Fisher, Brenner, Saltzman & Wallman LLP, 271
        Whitney Avenue, New Haven, CT 06511.

        On November 29, 2017, Defendant Stuart A. Fraser (“Fraser”) served his

First Set of Requests for Production (the “Requests”). Plaintiffs Denis Marc Audet,

Michael Pfeiffer, Dean Allen Shinners, and Jason Vargas (“plaintiffs”) respond as

follows:

                                              I.
                                      General Objections

        1.         Plaintiffs file these General Objections which are incorporated in each

and every response to the Requests.

        2.         Plaintiffs object to each of the Requests to the extent it calls for

information subject to the work product doctrine, the attorney-client privilege, joint

defense privilege and/or the privilege for the opinions of or facts known or held by

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non-testifying experts. Any inadvertent disclosure of such information shall not be

deemed a waiver of any applicable privilege or immunity.

        3.         Plaintiffs object to each of the Requests, including the “Definitions,” to

the extent the Requests seek to impose obligations beyond those imposed by the

Federal Rules of Civil Procedure, the Local Rules of Court, or other applicable law.

        4.         Plaintiffs object to each of the Requests to the extent it would require

them to do anything more than conduct a reasonable search of files or sources that

reasonably may be expected to yield relevant, responsive documents. Plaintiffs

object to each of the Requests that purports to require the production of “All”

documents, communications, and things. Plaintiffs will conduct a reasonable search

as required under the Federal Rules of Civil Procedure.

        5.         Plaintiffs object to these requests to the extent they call for

communications between any of the plaintiffs on the one hand and law enforcement

officials on the other hand and that concern an ongoing criminal matter. Plaintiffs

are withholding such documents.

        6.         Plaintiffs object to the definition of “Investment” as overly broad,

unduly burdensome, and disproportionate to the needs of the case to the extent it

encompasses information unrelated to the products offered by GAW Miners LLC

and ZenMiner LLC.

        7.         Plaintiffs object to Fraser’s instruction that purports to require them to

“clearly designate” the “source, owner, and custodian” of responsive documents as

vague and ambiguous. It is unclear what distinction between “source, owner, and



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custodian” Fraser is attempting to draw. Plaintiffs will reasonably indicate the

source of responsive documents.

        8.         These General Objections are incorporated by reference into each and

every specific response that follows. Plaintiffs’ responses are made without waiving

any of these General Objections.

                                              II.
                                  Objections and Responses

        1.         All documents concerning the Companies, Garza, or Fraser.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        2.         All documents and communications concerning the allegation that

Fraser “made false and misleading statements to potential and actual investors

about GAW Miners’ virtual currency mining operations,” as alleged in Paragraph 9

of the Complaint.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        3.         All documents concerning communications between Plaintiffs and

Garza between June 1, 2014 and the present.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        4.         All documents concerning communications between any Putative Class

Member and Garza between June 1, 2014 and the present.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,

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custody, or control that are responsive to this request.

        5.         All documents concerning communications between Plaintiffs and

Fraser between June 1, 2014 and November 4, 2016.

Response: Subject to the foregoing general objections, plaintiffs respond as follows:
plaintiffs have no responsive documents.

        6.         All documents concerning communications between Plaintiffs and the

Companies or any employees, representatives or agents of the Companies.

Response: Plaintiffs object to this request as vague and ambiguous to the extent it
seeks documents that “concern” their communications with the Companies.
Plaintiffs will construe this request as calling for documents that reflect their
communications with the Companies, employees and agents of the companies, etc.
Plaintiffs object to this request as seeking irrelevant information to the extent it
calls for communications between plaintiffs on the one hand and agents or
employees of the Companies on the other hand that concern topics unrelated to the
Companies, Garza, or Fraser. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        7.         All documents concerning communications between any Putative Class

Members or any employees, representatives or agents of the Companies.

Response: Plaintiffs object to this request as vague and ambiguous to the extent it
seeks documents that “concern” communications between Putative Class Members
and the Companies. Plaintiffs will construe this request as calling for documents
that reflect communications of the Putative Class Members and the Companies,
employees and agents of the companies, etc. Plaintiffs object to this request as
seeking irrelevant information to the extent it calls for communications between
Putative Class Members on the one hand and agents or employees of the Companies
on the other hand that concern topics unrelated to the Companies, Garza, or Fraser.
Subject to the foregoing general and specific objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        8.         All documents sufficient to identify any phone calls, voicemails or other

voice calls, including Skype, FaceTime or other similar modes of communication,

between      any       Plaintiff   and   Garza   relating   to   Your   Investments,   GAW

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Cryptocurrency Products or the Companies between June 1, 2014 and the present.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
their investments in securities other than the GAW Cryptocurrency Products.
Plaintiffs will not produce documents related to their non-GAW Cryptocurrency
Products investments. Subject to the foregoing general and specific objections,
plaintiffs will conduct a reasonable search and produce non-privileged documents in
their possession, custody, or control that are responsive to this request.

        9.         All documents sufficient to identify any phone calls, voicemails or

other voice         calls, including Skype, FaceTime or other similar modes of

communication, between any Putative Class Member and Garza relating to Your

Investments, GAW Cryptocurrency Products or the Companies between June 1,

2014 and the present.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about the
Putative Class Members’ investments in securities other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents related to the
Putative Class Members’ non-GAW Cryptocurrency Products investments. Subject to
the foregoing general and specific objections, plaintiffs will conduct a reasonable
search and produce non-privileged documents in their possession, custody, or control
that are responsive to this request.

        10.        All documents sufficient to identify any phone calls, voicemails or other

voice calls, including Skype, FaceTime or other similar modes of communication,

between       any      Plaintiff   and   Fraser   relating   to   Your   Investments,   GAW

Cryptocurrency Products or the Companies between June 1, 2014 and November 4,

2016.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
their investments in securities other than the GAW Cryptocurrency Products.
Plaintiffs will not produce documents related to their non-GAW Cryptocurrency
Products investments. Subject to the foregoing general and specific objections,
plaintiffs respond as follows: plaintiffs have no responsive documents.

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        11.        All documents sufficient to identify any phone calls, voicemails or other

voice calls, including Skype, FaceTime or other similar modes of communication,

between any Putative Class Member and Fraser relating to their Investments, GAW

Cryptocurrency Products or the Companies between June 1, 2014 and November 4,

2016.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about the
Putative Class Members’ investments in securities other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents related to the
Putative Class Members’ non-GAW Cryptocurrency Products investments. Subject to
the foregoing general and specific objections, plaintiffs respond as follows: plaintiffs
have no responsive documents.

        12.        All documents reflecting Your meetings with Garza between June 1,

2014 and the present.

Response: Plaintiffs object to this request to the extent it seeks information subject
to the work product doctrine, the attorney-client privilege, joint defense privilege
and/or the privilege for the opinions of or facts known or held by non-testifying
experts. Subject to the foregoing general and specific objections, plaintiffs will
conduct a reasonable search and produce non-privileged documents in their
possession, custody, or control that are responsive to this request.

        13.        All documents reflecting any Putative Class Members’ meetings with

Garza between June 1, 2014 and the present.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        14.        All documents reflecting Your meetings with the Companies or their

agents or representatives between June 1, 2014 and the present.

Response: Plaintiffs object to this request as seeking irrelevant information to the
extent it calls for information about meetings with agents or employees of the
Companies that concern topics unrelated to the Companies, Garza, or Fraser.
Plaintiffs object to this request to the extent it seeks information subject to the work

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product doctrine, the attorney-client privilege, joint defense privilege and/or the
privilege for the opinions of or facts known or held by non-testifying experts. Subject
to the foregoing general and specific objections, plaintiffs will conduct a reasonable
search and produce non-privileged documents in their possession, custody, or control
that are responsive to this request.

        15.        All documents reflecting any Putative Class Members’ meetings with

the Companies or their agents or representatives between June 1, 2014 and the

present.

Response: Plaintiffs object to this request as seeking irrelevant information to the
extent it calls for information about meetings between the Putative Class Members
and agents or employees of the Companies that concern topics unrelated to the
Companies, Garza, or Fraser. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        16.        Documents sufficient to show each Plaintiff’s online names, aliases or

identities (including without limitation any alias, address or name used on Twitter,

Facebook, Reddit, Bitcoin Talk, Hashtalk.org, Skype, Pumpking and any other

communities,         chatrooms   or   boards)   relating to   Your   Investments,   GAW

Cryptocurrency Products or the Companies.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about the
plaintiffs’ investments in securities other than the GAW Cryptocurrency Products.
Plaintiffs will not produce documents related to the plaintiffs’ non-GAW
Cryptocurrency Products investments. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        17.        Documents sufficient to show all email addresses used by or associated

with Plaintiffs in connection with the Companies, Your Investments or GAW

Cryptocurrency Products or used in connection with membership or posting on any

cryptocurrency blogs, including without limitation Hashtalk.org.


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Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about the
plaintiffs’ investments in securities other than the GAW Cryptocurrency Products.
Plaintiffs will not produce documents related to the plaintiffs’ non-GAW
Cryptocurrency Products investments. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        18.        All documents concerning any online posts, communications or other

representations made by Plaintiffs relating to any GAW Cryptocurrency Products.

Response: Plaintiffs object to this request to the extent it implies plaintiffs made any
representation concerning the GAW Cryptocurrency Products. Subject to the
foregoing general and specific objections, plaintiffs will conduct a reasonable search
and produce non-privileged documents in their possession, custody, or control that
are responsive to this request.

        19.        All documents concerning any online posts, communications or other

representations made by Putative Class Members relating to any GAW

Cryptocurrency Products.

Response: Plaintiffs object to this request to the extent it implies that the Putative
Class Members made any representation concerning the GAW Cryptocurrency
Products. Subject to the foregoing general and specific objections, plaintiffs will
conduct a reasonable search and produce non-privileged documents in their
possession, custody, or control that are responsive to this request.

        20.        All documents concerning any online posts, communications or other

representations made by Plaintiffs relating to virtual currency, cryptocurrency,

Bitcoin, Paycoin, altcoin currencies or any other form of virtual currency.

Response: Plaintiffs object to this request to the extent it implies plaintiffs made any
representation concerning the GAW Cryptocurrency Products. Plaintiffs object to
this request as overbroad, unduly burdensome, and disproportionate to the needs of
this case to the extent it seeks information about cryptocurrency or virtual currency
other than the GAW Cryptocurrency Products. Plaintiffs will not produce documents
unrelated to the GAW Cryptocurrency Products. Subject to the foregoing general and
specific objections, plaintiffs will conduct a reasonable search and produce non-
privileged documents in their possession, custody, or control that are responsive to
this request.

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        21.        All documents concerning any online posts, communications or other

representations made by Putative Class Members relating to virtual currency,

cryptocurrency, Bitcoin, Paycoin, altcoin currencies or any other form of virtual

currency.

Response: Plaintiffs object to this request to the extent it implies the Putative Class
Members made any representation concerning the GAW Cryptocurrency Products.
Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
cryptocurrency or virtual currency other than the GAW Cryptocurrency Products.
Plaintiffs will not produce documents unrelated to the GAW Cryptocurrency
Products. Subject to the foregoing general and specific objections, plaintiffs will
conduct a reasonable search and produce non-privileged documents in their
possession, custody, or control that are responsive to this request.

        22.        All documents and communications concerning the financial records of

the    Companies or Garza, including the general ledger, financial statements,

accounting records or other similar reports.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        23.        All documents concerning Your Investments, including bank account

statements,         investment   account    statements,    and   any      other   statements,

communications          or   documents     depicting,   describing   or    identifying   Your

Investments.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about the
Putative Class Members’ investments in securities other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents related to the
Putative Class Members’ non-GAW Cryptocurrency Products investments. Plaintiffs
object to this request as overbroad, unduly burdensome, disproportionate to the
needs of this case, and as violating plaintiffs’ privacy interests to the extent it seeks
Plaintiffs’ financial information that is unrelated to the GAW Cryptocurrency
Products. Plaintiffs will not produce financial information unrelated to their

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purchases of the GAW Cryptocurrency Products. Subject to the foregoing general
and specific objections, plaintiffs will conduct a reasonable search and produce non-
privileged documents in their possession, custody, or control that are responsive to
this request.

        24.        All documents concerning Your proof of purchase, receipt, confirmation

email or other such documentation or communication representing, identifying or

memorializing Your purchase, payment or ownership of any GAW Cryptocurrency

Product.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        25.        All documents concerning the Putative Class Members’ proof of

purchase,          receipt,   confirmation   email   or   other   such   documentation   or

communication representing, identifying or memorializing Putative Class Members’

purchase, payment or ownership of any GAW Cryptocurrency Product.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        26.        All documents and communications concerning research You conducted

prior to any investments made in relation to any GAW Cryptocurrency Product.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        27.        All documents and communications concerning research Putative Class

Members       conducted prior to any investments made in relation to any GAW

Cryptocurrency Product.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,

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custody, or control that are responsive to this request.

        28.        All documents concerning Plaintiffs’ Paybase Wallets and any other

virtual currency wallets, including Paybase Wallets or virtual currency wallets that

were not used or which were opened for a single exchange, purchase or sale of

virtual currency.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
cryptocurrency or virtual currency other than the GAW Cryptocurrency Products.
Plaintiffs will not produce documents unrelated to the GAW Cryptocurrency
Products. Subject to the foregoing general and specific objections, plaintiffs will
conduct a reasonable search and produce non-privileged documents in their
possession, custody, or control that are responsive to this request.

        29.        All communications concerning Plaintiffs’ purchase, sale, investment or

interest      in the purchase, payment or ownership of any GAW Cryptocurrency

Product.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        30.        All communications concerning the Putative Class Members’ purchase,

sale, investment or interest in the purchase, payment or ownership of any GAW

Cryptocurrency Product.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        31.        All documents concerning Plaintiffs’ sale, attempts to sell, gifting or

otherwise      terminating ownership of any GAW Cryptocurrency Product or any

product or services sold or offered by the Companies.

Response: Subject to the foregoing general objections, plaintiffs will conduct a

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reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        32.        All documents concerning the Putative Class Members’ sale, attempts

to sell, gifting or otherwise terminating ownership of any GAW Cryptocurrency

Product or any product or services sold or offered by the Companies.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        33.        All documents reflecting purchases or sales Plaintiffs made in any

virtual currency transaction, including without limitation any virtual currency,

cryptocurrency, digital currency, Bitcoins, altcoins, including Paycoin, or any other

form of currency.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
transactions concerning cryptocurrency or virtual currency other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents unrelated to the
GAW Cryptocurrency Products. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        34.        All documents concerning Your Federal, State and Local taxes,

including tax filings and tax returns, filed for the tax years 2015 and 2016.

Response: Plaintiffs object to this request as overbroad, unduly burdensome,
disproportionate to the needs of this case, and as violating plaintiffs’ privacy
interests to the extent it seeks Plaintiffs’ personal financial information and because
Fraser can obtain all relevant information about Plaintiffs’ purchases of GAW
Plaintiffs through a less invasive means. Plaintiffs will not produce documents
responsive to this request.

        35.        All documents concerning losses or earnings relating to Plaintiffs’

ownership of any virtual currency, cryptocurrency, digital currency, Bitcoins,

altcoins, Paycoin, or any other form of currency.

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Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
transactions concerning cryptocurrency or virtual currency other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents unrelated to the
GAW Cryptocurrency Products. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        36.        All communications concerning losses or earnings relating to Plaintiffs’

ownership of any virtual currency, cryptocurrency, digital currency, Bitcoins,

altcoins, Paycoin, or any other form of currency.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
transactions concerning cryptocurrency or virtual currency other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents unrelated to the
GAW Cryptocurrency Products. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        37.        All communications concerning any of Plaintiffs’ virtual currency

transactions, including any virtual currency, cryptocurrency, digital currency,

Bitcoins, altcoins, including paycoin, or any other form of currency.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
transactions concerning cryptocurrency or virtual currency other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents unrelated to the
GAW Cryptocurrency Products. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        38.        All documents and communications concerning any virtual currency

exchanges on which Plaintiffs were active or in which Plaintiffs invested, including

without limitation Bittrex, Yobit, Etherum, Bitstamp, Bitfinex, Coinbase, Cryptsy,

BTC-e, Kraken, BTCChina,               Bitcoin Source, Gemini Exchange, Changelly,

Cryptopia, Binance, cex.io, hitBTC, Paxful, Indacoin, Cancoin, Coinmama, Bitbond,

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xCoins, Cryptex24 or any other exchanges on which Paycoin, Bitcoin or any other

virtual currency may be monitored, purchased or sold.

Response: Plaintiffs object to this request as overbroad, unduly burdensome, and
disproportionate to the needs of this case to the extent it seeks information about
transactions concerning cryptocurrency or virtual currency other than the GAW
Cryptocurrency Products. Plaintiffs will not produce documents unrelated to the
GAW Cryptocurrency Products. Subject to the foregoing general and specific
objections, plaintiffs will conduct a reasonable search and produce non-privileged
documents in their possession, custody, or control that are responsive to this request.

        39.        All documents concerning the allegations of each misrepresentation,

communication, meeting or other similar allegation included in the Complaint

between July 1, 2013 and November 4, 2016.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        40.        All documents and communications concerning the allegation in

Paragraph 10 of the Complaint that “[d]efendants’ activities had the hallmarks of a

Ponzi scheme”.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        41.        All documents and communications concerning the allegation in

Paragraph 10 of the Complaint that “defendants sold far more computing power

than they owned and dedicated to virtual currency mining”.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        42.        All documents and communications concerning the allegation in

Paragraph 12 of the Complaint that “Fraser came up with the idea for ZenMiner.”

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Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        43.        All documents and communications concerning the allegation in

Paragraph 20 of the Complaint that “Fraser is an investor in ZenMiner.”

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        44.        All documents and communications concerning the allegation in

Paragraph 40 of the Complaint that “Garza and Fraser’s relationship differed from

a typical investor relationship”.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        45.        All documents and communications concerning the allegation in

Paragraph 41 of the Complaint that “Fraser paid Garza’s salary”.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        46.        All documents and communications concerning the allegation in

Paragraph 43 of the Complaint that “Garza and Fraser frequently discussed the

strategic direction of their various business ventures”.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        47.        All documents and communications concerning the allegation in

Paragraph 175 of the Complaint that Fraser “was a controlling person of Garza,

GAW Miners and ZenMiner”.


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Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        48.        All documents and communications that Plaintiffs refer to, quote or

summarize in the Complaint, including all emails, meeting notes, communications

and discussions quoted or referenced in the Complaint, regardless of the date on

which those documents were created or those communications took place.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        49.        All documents on which You relied in drafting the Complaint.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        50.        All statements given by Garza to You or any representatives,

associates, agents, or any other person acting on Your behalf, and any notes or

documents produced as a result of Garza’s statements from July 1, 2013 and

continuing to the present.

Response: Plaintiffs object to this request to the extent it seeks information subject
to the work product doctrine, the attorney-client privilege, joint defense privilege
and/or the privilege for the opinions of or facts known or held by non-testifying
experts. Subject to the foregoing general and specific objections, plaintiffs will
conduct a reasonable search and produce non-privileged documents in their
possession, custody, or control that are responsive to this request.

        51.        All documents referenced in Your Initial Disclosures and Your First

Supplemental Initial Disclosures, or relied upon in drafting Your Initial Disclosures

and Your First Supplemental Initial Disclosures, from July 1, 2013 and continuing

to the present.



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Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        52.        All   “[c]ommunications   and   correspondence   from   and   between

Defendants Homero Joshua Garza and Stuart A. Fraser,” between July 1, 2013 and

November 4, 2016, as referenced in Your Initial Disclosures.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        53.        All documents concerning the “marketing and advertising of

defendants’ cryptocurrency products” as referenced in Your Initial Disclosures.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        54.        All documents concerning “GAW Miners’ and Zenminer’s sales

information” as referenced in Your Initial Disclosures.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        55.        All documents concerning the “pricing of GAW Miners’ and Zenminer’s

cryptocurrency products” as referenced in Your Initial Disclosures.

Response: Subject to the foregoing general objections, plaintiffs will conduct a
reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        56.        All documents “reflecting the prior content of relevant websites,

including Gawminers.com, Hashtalk.org, Paycoin.com, and blog.paybase.com” as

referenced in Your Initial Disclosures.

Response: Subject to the foregoing general objections, plaintiffs will conduct a


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reasonable search and produce non-privileged documents in their possession,
custody, or control that are responsive to this request.

        57.        All documents concerning Your damages calculations for Your claims

against Fraser in this action, including without limitation all documents concerning

Your out-of-pocket losses and all documents on which such computations are or will

be based.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing
general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

        58.        All documents concerning Your damages calculations for Your claims

against Fraser in this action, including without limitation all documents relating to

Your assertion in the First Supplemental Initial Disclosures that the GAW

Cryptocurrency Products were “worthless”          and all documents on which such

computations are or will be based.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing
general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

        59.        All documents concerning Your damages calculations for Your claims

against Fraser in this action, including all documents relating to the calculation of

the difference between Your out-of-pocket expenses and the current value of any

digital currency on which Your calculations may be based, and all documents on

which such computations are or will be based.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing

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general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

        60.        All documents concerning Your damages calculations for Your claims

against Fraser, including all documents relating to the calculation of pre-judgement

interests on Your alleged damages and all documents on which such computations

are or will be based.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing
general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

        61.        All documents concerning Your damages calculations with respect to

the    “benefit-of-the-bargain” common law claim, as described in Your First

Supplemental Initial Disclosures, and all documents on which such computations

are or will be based.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing
general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

        62.        All documents concerning Your damages calculations with respect to

the “restitution” common law claim, as described in Your First Supplemental Initial

Disclosures, and all documents on which such computations are or will be based.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing
general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

        63.        All documents concerning any “data identified in SEC v. Garza, No.

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3:15-cv-    1760-JAM or substantially similar data” as alleged in Your First

Supplemental Initial Disclosures.

Response: Plaintiffs object to this request as premature to the extent it calls for
information that is properly the subject of expert discovery. Subject to the foregoing
general and specific objections, plaintiffs will conduct a reasonable search and
produce non-privileged documents in their possession, custody, or control that are
responsive to this request.

DATED: December 29, 2017


                                           Respectfully submitted,

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                                Certificate of Service

        I hereby certify that on December 29, 2017, I served the foregoing via

electronic mail on the following:

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